 Case 12-00542-SMT               Doc 18 Filed 11/28/12 Entered 11/29/12 00:24:48                     Desc Imaged
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B18 (Official Form 18) (12/07)

                                    United States Bankruptcy Court
                         United States Bankruptcy Court for the District of Columbia
                                                   Case No. 12−00542
                                                       Chapter 7

In re Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Traci M Hamilton
   1907 Good Hope Road SE
   Apt #308
   Washington, DC 20020
Social Security / Individual Taxpayer ID No.:
   xxx−xx−7735
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).



                                                            BY THE COURT

Dated: 11/26/12                                             S. Martin Teel, Jr.
                                                            United States Bankruptcy Judge



                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                       Certificate of Notice Page 2 of 4
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts That are Not Discharged

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes;

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans.



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                                United States Bankruptcy Court
                                                    District of Columbia
 In re:                                                                                                     Case No. 12-00542-smt
 Traci M Hamilton                                                                                           Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0090-1                  User: cavello                      Page 1 of 2                          Date Rcvd: Nov 26, 2012
                                       Form ID: b18                       Total Noticed: 20


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Nov 28, 2012.
 db            +Traci M Hamilton,    1907 Good Hope Road SE,    Apt #308,    Washington, DC 20020-4684
 smg            Child Support Services Division,    Office of the Attorney General,
                 Judiciary Square 441 4th Street, NW,    5th Floor,    Washington, DC 20001
 smg           +District Unemployment Compensation Board,     4058 Minnesota Ave., NE,    4th Floor,
                 Washington, DC 20019-3540
 smg           +Office of Attorney General,    Tax, Bankruptcy, and Finance,     One Judiciary Square,
                 441 4th Street, NW,    6th Floor,   Washington, DC 20001-2714
 smg            U.S. Attorney’s Office,    Civil Division - Judiciary Ct. Building,     555 4th St., N.W.,
                 4th Floor,   Washington, DC 20001-2733
 584048        +Bank Of America Home Loans,    Po Box 21848,    Greensboro, NC 27420-1848
 584049        +Bank Of NY Mellon/Bear Stearns Alt-A...,     C/O Luper Neidenthal & Logan,    50 W Broad St,
                 Columbus, OH 43215-3301
 584050        +Capital Recovery Systems,    750 Crosse Pointe Rd #5,     Columbus, OH 43230-6693
 584052         Columbus Public Utiliies,    PO Box 18288,    Columbus, OH 43218
 584053      ++FIFTH THIRD BANK,     MD# ROPS05 BANKRUPTCY DEPT,    1850 EAST PARIS SE,
                 GRAND RAPIDS MI 49546-6253
               (address filed with court: Fifth Third Bank,      38 Fountain Square Plaza,    Cincinnati, OH 45263)
 584054        +First National Bank At Omaha,    P.O. Box 2557,    Omaha, NE 68103-2557
 584055        +Huntington Bank,   2631 Morse Rd,    Columbus, OH 43231-5931
 584056        +Nationstar Mortgage,    350 Highland Drive,    Lewisville, TX 75067-4177

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 smg          +E-mail/Text: angela.coleman@dc.gov Nov 27 2012 00:01:48        D.C. Office of Tax and Revenue,
                Bankruptcy Division,    1101 4th Street SW,    Washington, DC 20024-4457
 584046        EDI: PHINAMERI.COM Nov 27 2012 00:03:00       AmeriCredit,    P.O. Box 183834,
                Arlington, TX 76096
 584466        EDI: PHINAMERI.COM Nov 27 2012 00:03:00       Americredit Financial Services, Inc.,    PO Box 183853,
                Arlington TX 76096
 584047       +EDI: BANKAMER.COM Nov 27 2012 00:03:00       Bank of America,    PO Box 15019,
                Wilmington, DE 19850-5019
 584051       +EDI: CHASE.COM Nov 27 2012 00:03:00      Chase,    PO Box 15298,    Wilmington, DE 19850-5298
 584057       +E-mail/Text: pdeling@sba.gov Nov 27 2012 00:01:46       Small Business Administration,
                801 Tom Martin Dr #120,    Birmingham, AL 35211-6424
 584058       +E-mail/Text: bk@weinstocklegal.com Nov 27 2012 00:01:48        Weinstock Friedman & Friedman,
                4 Reservoir Circle,   Baltimore, MD 21208-7301
                                                                                                TOTAL: 7

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 cr*            ++AMERICREDIT,   PO BOX 183853,   ARLINGTON TX 76096-3853
                 (address filed with court: AmeriCredit Financial Services, Inc.,                      PO Box 183853,
                   Arlington, TX 76096)
                                                                                                                     TOTALS: 0, * 1, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Nov 28, 2012                                       Signature:
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District/off: 0090-1         User: cavello                Page 2 of 2                  Date Rcvd: Nov 26, 2012
                             Form ID: b18                 Total Noticed: 20


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 26, 2012 at the address(es) listed below:
              Daniel M. Press    on behalf of Debtor Traci Hamilton dpress@chung-press.com, pressdm@gmail.com
              U. S. Trustee for Region Four    USTPRegion04.DC.ECF@USDOJ.GOV
              Wendell W. Webster    gspence@wfcplaw.com, DC03@ecfcbis.com
                                                                                            TOTAL: 3
